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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA
------------------------------------------------------------------ x
YISRAEL WEISER, et al.,                                            :
                                                                   :
                   Plaintiffs,                                     :
                                                                   :   Civil Action No. 24-cv-03244 (LLA)
-against-                                                          :
                                                                   :
ISLAMIC REPUBLIC OF IRAN, et al.,                                  :
                                                                   :
                   Defendants.                                     :
                                                                   :
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        MOTION FOR EXTENSION OF TIME TO FILE AMENDED COMPLAINT

        Plaintiffs respectfully request a two-week extension of the April 25, 2025, date by which

they advised the Court they would amend their Complaint, as indicated in their March 21, 2025,

Status Report. See ECF No. 18. Plaintiffs require additional time to finalize the amended

complaint, which will include additional plaintiffs and factual allegations and an additional

defendant. This request would extend the current filing date of April 25, 2025, to May 9, 2025.

Plaintiffs have made no prior requests for extensions. Defendants have not appeared in this case.

Dated: April 24, 2025

                                                     Respectfully submitted,

                                                     OSEN LLC

                                            By:     /s/ Gary M. Osen
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